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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION

CRISTHIAN ZUNIGA HERNANDEZ,                            :
                                                       :
LUIS ALFONSO PALMILLAS LOPEZ, and                      :
                                                       :
RAMON RODRIGUEZ MENDEZ                                 :
                                                       :
                                                       : Civil Action No.: 5:23-cv-00023
                                                       : CLASS ACTION
on behalf of themselves and all those similarly        :
situated,                                              :
                                                       :
Representative Plaintiffs,                             :
                                                       :
v.                                                     :
                                                       :

MARIA LETICIA PATRICIO,

ENRIQUE DUQUE TOVAR,

JOSE CARMEN DUQUE TOVAR, and

MBR FARMS, INC., a Georgia corporation,


Defendants.


                                       RICO STATEMENT
                                         S.D. Ga. LR 9.1

         This statement includes the facts the Plaintiffs are relying upon to initiate this RICO

complaint as a result of the “reasonable inquiry” required by Federal Rule of Civil Procedure 11.

The information in this RICO Statement is based on information currently available to Plaintiffs.

Plaintiffs expect they will amend this RICO Statement as the case progresses.


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         1. State whether the alleged unlawful conduct is in violation of 18 U.S.C. § 1962(a),

(b), (c) and/or (d).

         RESPONSE:

         The alleged unlawful conduct is in violation of 18 U.S.C. § 1962(c) and (d).

         2. List each defendant and state the alleged misconduct and basis of liability of each

defendant.

         RESPONSE:

         Plaintiffs allege Defendants Maria Leticia Patricio, Enrique Duque Tovar, Jose Carmen

Duque Tovar, and MBR Farms, Inc. (collectively, “Defendants”) violated the RICO Act. The

alleged misconduct and basis of liability against each of the RICO Defendants is as follows:

         As set forth in the Complaint, in 2020 and 2021 Defendant Enrique Duque Tovar, through

four RICO Enterprises described in the Complaint and herein, submitted Job Orders to the Georgia

Department of Labor (“GADOL”) and to Plaintiffs Cristhian Zuniga Hernandez, Luis Alfonso

Palmillas Lopez, and Ramon Rodriguez Mendez (“Plaintiffs”) and other class members. The Job

Orders included an “Employer’s Certification,” in which Mr. Enrique Duque Tovar (“Defendant

E. Duque”) certified that the terms and conditions of employment in the Job Orders were accurate.

The Job Orders included the following terms:

            (a) A prohibition against employers and their agents from seeking or receiving

            payment    from   any   worker    for   application   fees   and   recruitment   costs.

            See 20 C.F.R. § 655.135(j).

            (b) In job order no. H-300-20041-312099 (the “2020 Job Order”), work to begin April

            10, 2020 and continue until August 20, 2020; in job order no. H-300-21006-998169 (the

            “2021 Job Order”), work to begin March 8, 2021 and continue until October 10, 2021.
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              (c) Job duties to include harvesting blueberries (2020 and 2021).

              (d) An hourly wage of not less than the adverse effect wage rate (“AEWR”) of $11.71

              per hour (2020); and the supposed AEWR of $11.71 1 per hour and a piece rate of $0.50

              per pound of blueberries (2021).

              (e) Wages to be paid weekly.

              (f) Housing would be provided free of charge and would comply with federal, state,

              and local standards.

           When Defendant E. Duque signed the certifications in the Job Orders, he knew some of

the information he certified was false. For example, he knew Plaintiffs and other H-2A workers

would pay recruitment and application fees and costs to Defendants E. Duque and Jose Carmen

Duque (“Defendant J. Duque”); Plaintiffs and other H-2A workers would work job duties not listed

in the Job Order; the RICO Defendants would not pay the applicable AEWR; and the Defendants

would not provide the Plaintiffs and other H-2A workers housing that met minimum standards

required by law.

           Further, in 2020 and 2021 Defendant E. Duque, through the RICO Enterprises, signed and

submitted to the U.S. Department of Labor (“USDOL”) temporary labor certification applications

(“Applications for Certification”). Upon submitting the Applications for Certification, Defendant

E. Duque was required to, and did, sign a declaration swearing under penalty of perjury that:

             (a)   “the employer understands that it must offer, recruit at, and pay a wage that is at

             least the highest of the adverse effect wage rate at the time the job order is placed, the




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    Defendant E. Duque’s 2021 Job Order was approved even though it listed a lower AEWR for the 2021 year.
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           prevailing hourly or piece rate, the agreed-upon collective bargaining rate (CBA), or the

           Federal or State minimum wage….” Form ETA-9142A, Appendix A at ¶ B(5).

           (b)   “the employer . . . [w]ill comply with applicable Federal, State and local

           employment-related laws and regulations. . . .” Id. at ¶ B(8).

           (c)   “The employer and its agents have not sought or received payment of any kind from

           the H-2A worker for any activity related to obtaining labor certification, including

           payment of the employer’s attorneys’ fees, application fees, or recruitment costs. For

           purposes of this paragraph, payment includes, but is not limited to, monetary payments,

           wage concessions (including deductions from wages, salary, or benefits), kickbacks,

           bribes, tributes, in kind payments, and free labor.” Id. at ¶ B(10).

           (d)   “The employer has and will contractually forbid any foreign labor contractor or

           recruiter whom the employer engages in international recruitment of H-2A workers to

           seek or receive payments from prospective employees, except as provided for in DHS

           regulations.”

         At the time Defendant E. Duque signed the sworn declarations, he knew these statements

were false. He knew that MBR Farms, Inc. would not pay Plaintiffs and other class members the

AEWR; that MBR Farms, Inc. would not comply with federal, state, and local statutes and

regulations with respect to mandatory minimum wages, charging and reimbursing pre-

employment fees and costs, housing conditions, and the requirement that H-2A workers only be

employed in agriculture; that the Defendants and their agents had sought and received, or would

seek and receive, payments from Plaintiffs and other class members for activities related to labor

certification, and that he did not forbid foreign labor recruiters from receiving these payments; and

that Plaintiffs and other class members would not work in agriculture, in violation of federal law.
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         Defendant J. Duque, through the respective RICO enterprises, recruited the Plaintiffs and

other class members, made misrepresentations to the Plaintiffs and other class members during

recruitment meetings regarding the terms and conditions of employment, illegally charged pre-

employment fees to the Plaintiffs and other class members, and facilitated the terms and conditions

of employment that resulted in the forced labor and trafficking for forced labor of the Plaintiffs

and other class members.

         Defendant Maria Leticia Patricio, through the respective RICO enterprises, helped

orchestrate, or conspired to orchestrate, the fraudulent recruitment and forced labor scheme by

assisting with the preparation of the state and federal government submissions; collecting related

fees; facilitating the terms and conditions of employment that resulted in the forced labor and

trafficking for forced labor of the Plaintiffs and other class members; and by knowingly benefitting

financially from her participation in the venture she knew or should have known was engaged in

these acts.

         Defendant MBR Farms, Inc., though RICO Enterprise I, helped orchestrate, or conspired

to orchestrate, the fraudulent recruitment and forced labor scheme by agreeing to be designated as

a place of employment on state and federal government submissions; by facilitating the terms and

conditions of employment that resulted in the forced labor, trafficking for forced labor, and

servitude of the Plaintiffs and other class members; and by knowingly benefitting financially from

its participation in the venture it knew or should have known was engaged in these acts.

         Defendants, through the respective RICO Enterprises, used the mail and/or wires to

transmit the temporary labor certification application materials between themselves, their agents,

the USDOL, the GADOL, and Plaintiffs and other class members. They also used the mail and/or

wires in other ways in furtherance of the scheme to provide false information to the USDOL, the
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GADOL, and Plaintiffs and other class members.

         In 2020 and 2021 the Defendants, through the RICO Enterprises, also forced Plaintiffs and

other class members to work for little or no pay. Defendants E. Duque and/or J. Duque confiscated

Plaintiffs’ and other class members’ passports, visas, and social security cards in the course of

forcing Plaintiffs and other class members to work.

         Specifically, the Defendants conducted or participated in and/or conspired to conduct the

affairs of the RICO Enterprises by engaging in the following predicate acts of racketeering activity

under 18 U.S.C. § 1961(1):

                 a.    Forced labor in violation of 18 U.S.C. § 1589;

                 b.    Trafficking with respect to forced labor in violation of 18 U.S.C. § 1590;

                 c.    Unlawful conduct with respect to documents in furtherance of trafficking,
                       and forced labor in violation of 18 U.S.C. § 1592;

                 d.    Mail fraud to further their unlawful scheme in violation of 18 U.S.C.
                       § 1341;

                 e.    Wire fraud to further their unlawful scheme in violation of 18 U.S.C.
                       § 1343; and

                 f.    Fraud in foreign labor contracting in violation of 18 U.S.C. § 1351.


         3. List the alleged wrongdoers, other than the defendants listed above, and state the

alleged misconduct of each wrongdoer.

         RESPONSE:

         Not applicable.

         4. List the alleged victims and state how each victim was allegedly injured.

         RESPONSE:

         As a direct and proximate result of the RICO Defendants’ willful, knowing, and intentional
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acts discussed above, Plaintiffs and other class members suffered injuries to their property and/or

business, including but not limited to the difference between the fraudulently-promised regular

wage rates and the wages Plaintiffs and other class members were paid, Plaintiffs’ and other class

members’ recruitment and other pre-employment fees and costs, interest on loans to pay these fees

and costs, and other pecuniary losses and/or losses to real or personal property.

         5. Describe in detail the pattern of racketeering activity or collection of unlawful

debts alleged for each RICO claim. A description of the pattern of racketeering shall include

the following information:

                 (a) List the alleged predicate acts and the specific statutes which were allegedly

         violated;

         RESPONSE:

         The Defendants conducted or participated in and/or conspired to conduct the affairs of the

RICO Enterprises by engaging in the following predicate acts of racketeering activity under 18

U.S.C. § 1961(1):

                 a.     Forced labor in violation of 18 U.S.C. § 1589;

                 b.     Trafficking with respect forced labor in violation of 18 U.S.C. § 1590;

                 c.     Unlawful conduct with respect to documents in furtherance of trafficking,
                        and forced labor in violation of 18 U.S.C. § 1592;

                 d.     Mail fraud to further their unlawful scheme in violation of 18 U.S.C.
                        § 1341;

                 e.     Wire fraud to further their unlawful scheme in violation of 18 U.S.C.
                        § 1343;

                 f.     Fraud in foreign labor contracting in violation of 18 U.S.C. § 1351;

                 (b) Provide the dates of the predicate acts, the participants in the predicate

         acts and a description of the facts surrounding the predicate acts;
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         RESPONSE:

         On or around March 3, 2020 (specific date in custody and control of the RICO Defendants),

Defendant E. Duque, through the RICO Enterprises, signed the certification in the 2020 Job Order

and the sworn declaration in the 2020 Application for Certification, both of which contained

fraudulent representations.

         On or around March 3, 2020 (specific date in custody and control of the RICO Defendants),

Defendant E. Duque, through the RICO Enterprises, transmitted the 2020 Job Order through the

mail and/or wires to the GADOL. He also transmitted the 2020 Application for Certification to

the USDOL.

         In March or April 2020 (specific date in custody and control of the RICO Defendants), the

GADOL approved the 2020 Job Order in reliance on Defendant E. Duque’s fraudulent

representations.

         On March 6, 2020, the USDOL certified (approved) the 2020 Application for Certification

based on Defendant E. Tovar’s fraudulent representations.

         In February or March 2020, individual class members paid at least $280.00 USD in pre-

employment fees and costs.

         In March 6, 2020, the RICO Defendants or their agent, through the RICO Enterprises,

transmitted the 2020 Job Order to Plaintiffs and other class members through the mail or wires.

         In March 2020: Unnamed class members accepted the job offer in the 2020 Job Order in

reliance on Defendant E. Duque’s fraudulent representations.

         After the Plaintiffs and other class members arrived in the United States in 2020, the

Defendants, through the RICO Enterprises, forced unnamed class members to work.

         After the Plaintiffs and other class members arrived in the United States in 2020, Defendant
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E. Duque and/or J. Duque confiscated class members’ passports, visas, and social security cards

in the course of forcing unnamed class members to work.

         On or about January 14, 2021, Defendant E. Duque, through the RICO Enterprises, signed

the certification in the 2021 Job Order, which contained fraudulent representations, and transmitted

the 2021 Job Order to GADOL via the mail and/or wires.

         In February 2021 (specific date in custody and control of the Defendants), the GADOL

approved the 2021 Job Order in reliance on Defendant E. Duque’s fraudulent representations.

         On or about January 14, 2021, Defendant E. Duque, through the RICO Enterprises, signed

the sworn declaration in the 2021 Application for Certification, which contained fraudulent

representations.

         On or about January 14, 2021, Defendant E. Duque transmitted the 2021 Application for

Certification via the mail and/or wires to the USDOL.

         On or about February 4, 2021, the USDOL certified (approved) the 2021 Application for

Certification based on Defendant E. Duque’s fraudulent representations.

         In February 2021, Plaintiff Luis Alfonso Palmillas Lopez accepted the job offer in the 2021

Job Order in reliance on Defendant E. Duque’s fraudulent representations.

         From February through April 2021, Plaintiff Luis Alfonso Palmillas Lopez paid

approximately USD$720 in pre-employment expenses, including recruitment fees, transportation

fees, and housing fees.

         In April 2021, Plaintiff Ramon Rodriguez Mendez accepted the job offer in the 2021 Job

Order in reliance on Defendant E. Duque’s fraudulent representations.

         From February through April 2021, Plaintiff Ramon Rodriguez Mendez paid

approximately      USD$1,634     in   pre-employment    expenses,    including   recruitment   fees,
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transportation fees, and housing fees.

         In April 2021, Plaintiff Cristhian Zuniga Hernandez accepted the job offer in the 2021 Job

Order in reliance on Defendant E. Duque’s fraudulent representations.

         From March through April 2021, Plaintiff Cristhian Zuniga Hernandez paid approximately

USD$1,600 in pre-employment expenses, including recruitment fees, transportation fees, and

housing fees.

         After the Plaintiffs and other class members arrived in the United States in 2021, the

Defendants forced Plaintiffs and other class members to work.

         After the Plaintiffs and other class members arrived in the United States in 2021,

Defendants E. Duque and/or J. Duque confiscated Plaintiffs’ and other class members’ passports,

visas, and social security cards in the course of forcing Plaintiffs and other class members to work.

                 (c) If the RICO claim is based on the predicate offenses of wire fraud, mail

         fraud or fraud in the sale of securities, the “circumstances constituting fraud or

         mistake shall be stated with particularity.” Fed. R. Civ. P. 9(b). Identify the time,

         place and content of the alleged misrepresentations and the identity of persons to

         whom and by whom the alleged misrepresentations were made;

         RESPONSE:

         The dates, content, and individuals who made the alleged misrepresentations are set forth

in Plaintiffs’ response to paragraph 5(b), supra.

         Upon information and belief, the misrepresentations in the USDOL labor certification

applications were made at Defendant E. Duque’s residence, at 6996 Axson Road, Axson, GA

31624, and they were transmitted to USDOL’s processing center, located at the Office of Foreign

Labor Certification’s Chicago National Processing Center at 11 West Quincy Court, Chicago,
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Illinois 60604-2105.

         The misrepresentations to Plaintiffs and other class members were made in March and

April 2020 and March and April 2021 in the city of Monterrey, Mexico.

         The contents of the misrepresentations consisted of statements about the wages Plaintiffs

and other class members would be paid and the pre-employment fees and costs, which the RICO

Defendants knew to be false.

         As set forth above, Defendant J. Duque, through the RICO Enterprises, made similar

misrepresentations in the course of recruiting the Plaintiffs and other class members.

                 (d) State whether there has been a criminal conviction for violation of the

         predicate acts;

         RESPONSE:

         As of the date of this filing, there is no criminal conviction for the violations of the predicate

acts. Defendants Maria Leticia Patricio, E. Duque, and J. Duque, however, have been indicted and

criminal proceedings are underway for the same or substantially similar conduct giving rise to the

instant lawsuit. See United States v. Maria Leticia Patricio, No. 5:21-CR-00009-LGW-BWC

(S.D. Ga. Oct. 15, 2021), ECF No. 3.

                 (e) State whether civil litigation has resulted in a judgment in regard to the

         predicate acts;

         RESPONSE:

         Civil litigation has not resulted in any judgment in regards to the predicate acts.

                 (f) Describe how the predicate acts form a “pattern of racketeering activity”;

         RESPONSE:

         The RICO Defendants, through the RICO Enterprises, engaged repeatedly in the fraud-
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related racketeering activity set forth in Plaintiffs’ RICO claims over the course of at least two

years (in 2020 and 2021), with respect to hundreds of workers and subjected Plaintiffs and several

other workers to forced labor, to live in substandard conditions, and subjugated the workers to

exploitative and unlawful fees. Further, the RICO Defendants sought new H-2A workers, who

may have been subject to similar racketeering activities, for employment at their business

operations in 2020 and 2021.

          The RICO Defendants, through the RICO Enterprises, relied on the racketeering acts

described in this Complaint to conduct their regular business activities.

          The RICO Defendants’ racketeering acts have or had similar purposes: to profit from the

fraudulent recruitment of Plaintiffs and other H-2A workers for employment at farms and for

packing pinestraw.

          The RICO Defendants’ acts yielded similar results and caused similar injuries to Plaintiffs,

including Plaintiffs’ payment of recruitment fees and expenses, and the difference between the

fraudulently promised wages and the wages Plaintiffs and other class members were paid.

          The racketeering acts have or had similar participants: the RICO Defendants and their

agents.

          The RICO Defendants, through the RICO Enterprises, directed their racketeering activities

at similar individuals and entities, including Plaintiffs and other class members, and federal and

state government agencies.

          The RICO Defendants’ acts have or had similar methods of commission, such as common

recruitment tactics, relatively consistent practices with respect to collecting payments from

Plaintiffs and other class members, and the use of similar employment practices and policies with

respect to Plaintiffs and other class members.
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                 (g) State whether the alleged predicate acts relate to each other as part of a

         common plan. If so, describe in detail.

         RESPONSE:

         The alleged predicate acts related to each other as part of a common plan to profit from the

fraudulent recruitment of Plaintiffs and other class members for employment at farms and for

pinestraw packing, to profit from the forced labor of Plaintiffs’ and other class members’ work at

other farms and for pinestraw packing.

         6. Describe in detail the alleged enterprise for each RICO claim. A description of

the enterprise shall include the following information:

                 (a) State the names of the individuals, partnerships, corporations, associations

         or other legal entities which allegedly constitute the enterprise;

         RESPONSE:

         RICO Enterprise I: Enrique Duque Tovar, Jose Carmen Duque Tovar, Maria Leticia

Patricio, MBR Farms, Inc.

         RICO Enterprise II: Enrique Duque Tovar, Jose Carmen Duque Tovar, Maria Leticia

Patricio, Daniel Mendoza, Nery Rene Carrillo-Najarro, Antonio Chavez Ramos a/k/a Tony

Chavez, JC Longoria Castro, Victoriano Chavez Hernandez, Charles Michael King, Stanley Neal

McGauley, Luis Alberto Martinez a/k/a Chino Martinez, Delia Ibarra Rojas, Juana Ibarra Carrillo,

Donna Michelle Rojas a/k/a Donna Lucio, Margarita Rojas Cardenas a/k/a Maggie Cardenas, Juan

Francisco Alvarez Campos, Rosalva Garcia Martinez a/k/a Chava Garcia, Esther Ibarra Garcia,

Rodolfo Martinez Maciel, Brett Donavan Bussey, Linda Jean Facundo, Gumara Canela, Daniel

Merari Canela Diaz, and Carla Yvonne Salinas.

         RICO Enterprise III: Seminole Hard Rock Hotel and Casino, Enrique Duque Tovar, Jose
                                                 13


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Carmen Duque Tovar, Maria Leticia Patricio, Daniel Mendoza, Nery Rene Carrillo-Najarro,

Antonio Chavez Ramos a/k/a Tony Chavez, JC Longoria Castro, Victoriano Chavez Hernandez,

Charles Michael King, Stanley Neal McGauley, Luis Alberto Martinez a/k/a Chino Martinez,

Delia Ibarra Rojas, Juana Ibarra Carrillo, Donna Michelle Rojas a/k/a Donna Lucio, Margarita

Rojas Cardenas a/k/a Maggie Cardenas, Juan Francisco Alvarez Campos, Rosalva Garcia Martinez

a/k/a Chava Garcia, Esther Ibarra Garcia, Rodolfo Martinez Maciel, Brett Donavan Bussey, Linda

Jean Facundo, Gumara Canela, Daniel Merari Canela Diaz, and Carla Yvonne Salinas.

         RICO Enterprise IV: Officials employed at the Georgia Department of Labor, Enrique

Duque Tovar, Jose Carmen Duque Tovar, Maria Leticia Patricio, Daniel Mendoza, Nery Rene

Carrillo-Najarro, Antonio Chavez Ramos a/k/a Tony Chavez, JC Longoria Castro, Victoriano

Chavez Hernandez, Charles Michael King, Stanley Neal McGauley, Luis Alberto Martinez a/k/a

Chino Martinez, Delia Ibarra Rojas, Juana Ibarra Carrillo, Donna Michelle Rojas a/k/a Donna

Lucio, Margarita Rojas Cardenas a/k/a Maggie Cardenas, Juan Francisco Alvarez Campos,

Rosalva Garcia Martinez a/k/a Chava Garcia, Esther Ibarra Garcia, Rodolfo Martinez Maciel, Brett

Donavan Bussey, Linda Jean Facundo, Gumara Canela, Daniel Merari Canela Diaz, and Carla

Yvonne Salinas.

                 (b) Describe the structure, purpose, function and course of conduct of the

         enterprise;

         RESPONSE:

         The aforementioned RICO Enterprises had a common purpose to fraudulently misrepresent

the terms and conditions of the employment to foreign workers and to charge various unlawful

recruitment fees and other expenses to Plaintiffs and other class members.

                 (c) State whether any defendant is an employee, officer or director of the
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         alleged enterprise;

         RESPONSE: No Defendant is an employee, officer, or director of any of the alleged

enterprises.

         (d) State whether any defendant is associated with the alleged enterprise;

         RESPONSE:

         Each Defendant is associated with one or more of the RICO Enterprises as set forth above.

                 (e) State whether you are alleging that the defendants are individuals or

         entities separate from the alleged enterprise or that the defendants are the enterprise

         itself, or members of the enterprise; and

         RESPONSE:

         The Defendants are individuals and one entity separate from the alleged RICO enterprises

and are members of one of more of the RICO Enterprises, as set forth above.

                 (f) If any defendant is alleged to be the enterprise itself, or members of the

         enterprise, explain whether such defendants are perpetrators, passive instruments or

         victims of the alleged racketeering activity.

         RESPONSE:

         As members of the respective RICO Enterprises, the Defendants are perpetrators, through

the RICO Enterprises, of the alleged racketeering activity.

         7. State and describe in detail whether you are alleging that the pattern of

racketeering activity and the enterprise are separate or have merged into one entity.

         RESPONSE:

         The pattern of racketeering activity and the RICO Enterprises are separate. The RICO

Enterprises existed independently from the racketeering activity as ongoing associations of fact.
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The RICO Defendants were associated with the respective enterprises, as set forth above, and

conducted or participated in the affairs of the respective enterprises through a pattern of

racketeering activity. The enterprises had the common purpose to recruit, contract, transport, and

employ foreign workers to work in agriculture and in packing pinestraw while purposefully

ignoring the applicable rules and regulations regarding the employment of Plaintiffs and other

class members in order for the RICO Defendants to earn unlawful profits from Plaintiffs and other

class members.

         8. Describe the alleged relationship between the activities of the enterprise and the

pattern of racketeering activity. Discuss how, if at all, the racketeering activity differs from

the usual and daily activities of the enterprise.

         RESPONSE:

         As set forth above, the usual and daily activities of the RICO Enterprise consist of

recruiting, contracting, transporting, and employing foreign workers to work in agriculture and in

packing pinestraw while charging the foreign workers unlawful fees and paying them unlawful

wages. The RICO Defendants participated in and conducted the affairs of the RICO Enterprises

through a pattern of defrauding the USDOL, the GADOL, and Plaintiffs and other class members,

and forcing Plaintiffs and other class members to work both in agricultural and non-agricultural

employment.

         9. Describe what benefits, if any, the alleged enterprise receives from the alleged

pattern of racketeering.

         RESPONSE:

         The alleged pattern of racketeering activity advanced the purpose and goal of the RICO

Enterprise to recruit, contract, transport, and employ foreign workers to work in agriculture and in
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packing pinestraw while purposefully ignoring rules and regulations as to the employment of H-2A

workers so to allow the RICO enterprises to extract various unlawful fees from the workers. By

paying less than the wages communicated to USDOL, GADOL, and Plaintiffs and other class

members and therefore reducing their overhead, the Defendants, as the operators and/or managers

of the RICO Enterprises, benefitted from conducting and participating in the RICO Enterprises’

affairs through the pattern of racketeering activity. The Defendants increased their profits far

above what those profits would have been absent the mail fraud, wire fraud, and fraud in foreign

labor contracting predicate acts. Further, by forcing Plaintiffs and other class members to work

for sub-minimum wages, the Defendants, through the respective Enterprises, excised themselves

from the free market of labor, which otherwise would have required the Defendants to compete

with other employers for workers and offer higher wages and better working conditions to attract

employees.       As such, the Defendants increased their profits by using the respective RICO

Enterprises to subject Plaintiffs and other class members to forced labor.

         10. Describe the effect of the activities of the enterprise on interstate or foreign

commerce.

         RESPONSE:

         The Defendants, through the RICO Enterprises, recruited Plaintiffs and other class

members in Mexico and transported them across international and state boundaries for the purpose

of employing them in Georgia. Plaintiffs and class members handled or otherwise worked on

goods or materials that had been moved in or produced for interstate commerce. Further, by using

the mail and wires in furtherance of the fraudulent acts, the enterprise has an inherent nexus with

interstate commerce. Funds acquired through the racketeering activities were laundered across

state lines, such as through the Seminole Hard Rock Hotel and Casino in Florida.
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         11. If the complaint alleges a violation of 18 U.S.C. § 1962(a), provide the following

information:

                 (a) State who received the income derived from the pattern of racketeering

         activity or through the collection of an unlawful debt; and

         RESPONSE:

         This sub-part does not apply to Plaintiffs’ claims.

                 (b) Describe the use or investment of such income.

         RESPONSE:

         This sub-part does not apply to Plaintiffs’ claims.

         12. If the complaint alleges a violation of 28 U.S.C. § 1962(b), describe in detail the

acquisition or maintenance of any interest in or control of the alleged enterprise.

         RESPONSE:

         This sub-part does not apply to Plaintiffs’ claims.

         13. If the complaint alleges a violation of 18 U.S.C. § 1962(c), provide the following

information:

                 (a) State who is employed by or associated with the enterprise; and

         RESPONSE:

         Defendants Enrique Duque Tovar, Jose Carmen Duque Tovar, Maria Leticia Patricio, and

MBR Farms, Inc. are associated with the RICO Enterprises.

                 (b) State whether the same entity is both the liable “person” and the

                 “enterprise” under § 1962(c).

         RESPONSE:

         The Defendants are not both the liable “persons” and the “enterprise” under § 1962(c).
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         14. If the complaint alleges a violation of 18 U.S.C. § 1962(d), describe in detail the

alleged conspiracy.

         RESPONSE:

         Plaintiffs allege violation of 18 U.S.C. § 1962(d) in the alternative as to Defendant MBR

Farms, Inc.’s and Defendant Maria Leticia Patricio’s direct participation, through the RICO

Enterprises, in predicate acts. To the extent these Defendants were not direct perpetrators, they

conspired with Defendants E. Duque and J. Duque by knowingly providing support to the

violations of his sworn declarations to USDOL in the 2020 and 2021 Applications for Certification

and representations to GADOL and to Plaintiffs and other class members in the 2020 and 2021

Job Orders.

         15. Describe the alleged injury to business or property.

         RESPONSE:

         Plaintiffs and other class members suffered injury to business or property by being deprived

of the funds they expended for pre-employment and other unlawful fees and costs and by being

deprived of the promised wages.

         16. Describe the direct causal relationship between the alleged injury and the violation

of the RICO statute.

         RESPONSE:

         Plaintiffs suffered damages by reason of the Defendants’ violations of the RICO statute.

The RICO Defendants, through the RICO Enterprises, knowingly provided false information to

the USDOL and GADOL regarding the wages they would pay Plaintiffs and other class members.

The USDOL and GADOL relied upon these fraudulent communications when they granted labor

certification to and approved the Job Order for Defendant E. Duque. The direct result of the RICO
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Defendants’ fraud was the Plaintiffs’ and other class members’ unpaid promised wages and the

Plaintiffs’ and other class members’ pre-employment fees and costs, as well as the interest

Plaintiffs and other class members paid on loans to cover those fees and costs.

         Further, the Defendants, through the RICO Enterprises, promised wages directly to

Plaintiffs and other class members which the RICO Defendants knew to be false. Plaintiffs and

other class members relied upon these misrepresentations when they accepted the job opportunities

and paid the pre-employment fees and costs, as well as interest on those fees and costs. Plaintiffs

and other class members also earned depressed wages as a direct consequence of the Defendants’

fraud conducted through the RICO enterprise.

         17. List the damages sustained for which each defendant is allegedly liable.

         RESPONSE:

         The Defendants are liable for the difference between the fraudulently promised regular and

overtime wage rates and the wages Plaintiffs and other class members were paid, the pre-

employment fees and costs Plaintiffs and other class members paid in reliance upon the

Defendants’ misrepresentations about the Plaintiffs’ and other class members’ wages, interest on

loans Plaintiffs and other class members had to take out to pay those fees and costs, and other

pecuniary losses and/or losses to real or personal property up to the point at which each Plaintiffs’

and other class members’ employment with Defendants was terminated.

         18. List all other federal causes of action, if any, and provide the relevant statute

numbers.

         RESPONSE:

             •   Minimum wage and overtime violations, pursuant to the Fair Labor Standards Act,

                 29 U.S.C. §§ 206 and 207.
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             •   Forced Labor, Trafficking with Respect to Forced Labor, Conspiracy to Commit

                 Forced Labor and Trafficking with Respect to Forced Labor, Unlawful Conduct

                 with Respect to Documents, and benefitting financially from these acts, pursuant to

                 the Trafficking Victims Protection Reauthorization Act of 2003, 18 U.S.C. §§ 1589,

                 1590, 1592, 1594, and 1595.

         19. List all pendent state claims, if any.

         RESPONSE:

             •   Georgia Racketeer Influenced and Corrupt Organizations Act, O.C.G.A. § 16-14-1

                 et seq.

             •   Unjust enrichment

             •   Intentional Infliction of Emotional Distress

         20. Provide any additional information that you feel would be helpful to the Court in

processing your RICO claim.

         RESPONSE:

         Plaintiffs do not believe there is additional information not already provided in this

statement and in the Complaint that would be helpful to the Court in considering the Plaintiffs’

RICO claims.




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Dated: April 24, 2023.                        Respectfully Submitted,

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